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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION

PSARA ENERGY, LTD.                    :
                                      :
                      Plaintiff       :
                                      :
SPACE SHIPPING, LTD.; GEDEN HOLDINGS  :
LTD.; ADVANTAGE SPRING SHIPPING, LLC; :
GENEL DENIZCILIK NAKLIYATI A.S.       :                          C.A. NO. 1:20-CV-00293-MAC
A/K/A GEDEN LINES; ADVANTAGE          :
TANKERS, LLC; MEHMET EMIN KARAMEHMET; :                          ADMIRALTY
GULSUN NAZLI KARAMEHMET-WILLIAMS;     :
TUĞRUL TOKGÖZ; MEHMET MAT;            :
FLEETSCAPE SPRING, LLC; FLEETSCAPE    :
ADVANTAGE HOLDINGS, LLC               :
                                      :
                      Defendants      :

                              NOTICE OF VOLUNTARY DISMISSAL

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Plaintiff PSARA ENERGY LTD. by and through undersigned counsel

and files its Notice of Voluntary Dismissal of the above captioned case Psara Energy Ltd. v. Space

Shipping, Ltd., et al., Civil Action 1:20-cv-00293 pursuant to Rule 41(a)(1)(A)(i) of the Federal

Rules of Civil Procedure. In support, Plaintiff would show the court that:

       1.   Defendants have not filed an answer or a motion for summary judgment.

       2. Plaintiff Psara Energy, Ltd. now wishes to voluntarily dismiss this action as a
          settlement of the underlying matter has been reached by the parties, and accordingly to
          release the substitute security held in the registry of the Court in this action to the
          defendant parties entitled to same.

       3. This case is not a class action.

       4. A receiver has not been appointed in this case.

       5. This case is not governed by any federal statute that requires a court order for dismissal
          of the case.



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       6. Plaintiff Psara Energy Ltd. has not previously dismissed any federal, or state court,
          action including the same claims. However, there is a related case pending before this
          Court with civil action number 1:18-cv-00178, which Plaintiff will dismiss with a
          similar Notice of Voluntary Dismissal filed into civil action number 1:18-cv-00178.

       7. This dismissal is with prejudice as to the specific claims of the Plaintiff alleged in this
          underlying matter, and is without prejudice to any other claims that anyone else may
          have in any proceedings pending or contemplated.

       WHEREFORE, premises considered, and in accordance with Fed. R. Civ. P. Rule

41(a)(1)(A)(i), Plaintiff Psara Energy, Ltd. respectfully asks this Court to dismiss Plaintiff’s action

against the defendants in the above captioned case 1:20-cv-00293 and release the substitute

security held in the registry of the Court in this action to the defendant parties entitled to same.

                                                       Respectfully Submitted,

Houston, Texas                                         GAITAS & CHALOS, P.C.
February 8, 2021

                                                       /s/Jonathan M. Chalos
                                                       George A. Gaitas
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                                                       Attorneys for Plaintiff
                                                       Psara Energy Ltd.


                                  CERTIFICATE OF SERVICE
       I certify that a true and correct copy of the foregoing notice of dismissal was served on all
counsel of record via the Court’s CM/ECF system on this 8th day of February, 2021.

                                                               /s/ Jonathan M. Chalos
                                                               Jonathan M. Chalos




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